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                                             EXHIBIT A

                                   COSTS OF CLERK FEES

    Description of Fee                        Date         Receipt No.      Amount
    Pro Hac Vice for Tara L. Reinhart         02/12/2020   0422-7071772     $75.00
    Pro Hac Vice for John R. Thornburgh II    02/12/2020   0422-7071773     $75.00
    Pro Hac Vice for Thomas R. Gentry         02/12/2020   0422-7071778     $75.00
    Pro Hac Vice for Julia Kupfer York        12/06/2022   AVAEDC-8695811   $75.00
    Pro Hac Vice for Meghan McConnell         01/12/2023   AVAEDC-8750671   $75.00
    TOTAL                                                                   $375.00
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Carson, Joanne R (WAS)

From:                            do_not_reply@psc.uscourts.gov
Sent:                            Tuesday, December 6, 2022 11:22 AM
To:                              McGill, Libby A (WAS)
Subject:                         [Ext] Pay.gov Payment Confirmation: VIRGINIA EASTERN DISTRICT COURT


Your payment has been successfully processed and the details are below. If you have any questions or you wish to
cancel this payment, please contact: Sandy Sutton at 703-299-2105.

 Account Number: 3226665
 Court: VIRGINIA EASTERN DISTRICT COURT
 Amount: $75.00
 Tracking Id: AVAEDC-8695811
 Approval Code: 085967
 Card Number: ************6576
 Date/Time: 12/06/2022 11:22:28 ET


NOTE: This is an automated message. Please do not reply




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Carson, Joanne R (WAS)

From:                            do_not_reply@psc.uscourts.gov
Sent:                            Thursday, January 12, 2023 10:41 AM
To:                              McGill, Libby A (WAS)
Subject:                         [Ext] Pay.gov Payment Confirmation: VIRGINIA EASTERN DISTRICT COURT


Your payment has been successfully processed and the details are below. If you have any questions or you wish to
cancel this payment, please contact: Sandy Sutton at 703-299-2105.

 Account Number: 3226665
 Court: VIRGINIA EASTERN DISTRICT COURT
 Amount: $75.00
 Tracking Id: AVAEDC-8750671
 Approval Code: 012152
 Card Number: ************6576
 Date/Time: 01/12/2023 10:40:53 ET


NOTE: This is an automated message. Please do not reply




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